        Case 5:24-cv-00404-SSS-DTB Document 4 Filed 02/21/24 Page 1 of 4 Page ID #:36

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                    Central District
                                                __________  District of
                                                                     of California
                                                                        __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.   5:24-cv-00404
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
     Case 5:24-cv-00404-SSS-DTB Document 4 Filed 02/21/24 Page 3 of 4 Page ID #:38




 1    Taras Kick (Cal. Bar No. 143379)
      taras@kicklawfirm.com
 2    Tyler Dosaj (Cal. Bar No. 306938)
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      THE KICK LAW FIRM, APC
 4    815 Moraga Drive
      Los Angeles, CA 90049
 5    Tel: (310)395-2988 / Fax: (310)395-2088
 6
      Daniel H. Charest (pro hac vice to be filed)
 7    dcharest@burnscharest.com
      Darren Nicholson (pro hac vice to be filed)
 8    dnicholson@burnscharest.com
      Chase Hilton (pro hac vice to be filed)
 9    chilton@burnscharest.com
10    BURNS CHAREST, LLP
      900 Jackson Street, Suite 500
11    Dallas, TX 75202
      Tele: (469)904-4550 / Fax: (469)444-5002
12
                         UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
   JOSE GUZMAN, FORTINO RUTILO                       CASE NO.: 5:24-cv-00404
15 JIMENEZ, AND BERTHA MEZA,
   individually and on behalf of all others          CLASS ACTION
16
   similarly situated,
17                                                   COMPLAINT FOR
                         Plaintiffs,
18
                                                     (1) Violation of the California
19                       v.                          Consumer Privacy Rights Act §
                                                     1798.150 et seq.; and
20 THE WESTERN UNION COMPANY, d/b/a
                                                     (2) Invasion of Privacy, California
21 WESTERN UNION FINANCIAL SERVICES                  Constitution Art. 1, § 1.
     INC., MONEYGRAM INTERNATIONAL,
22 INC., MONEYGRAM PAYMENT
                                                     DEMAND FOR JURY TRIAL
23 SYSTEMS, INC., and FORCEPOINT LLC.

24                       Defendants.

25

26

27

28                                CLASS ACTION COMPLAINT
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           UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA

                       Jose Guzman et al. v. Western Union et al.
                        Case No. 5:24-cv-00404

                               Attachment #2-
                             Addendum to Summons

Defendants to be served:

Moneygram International, Inc.
c/o registered agent The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, Delaware 19801

Moneygram Payment Systems, Inc.
c/o agent CT Corporation System
Amanda Garcia
330 N. Brand Blvd, Glendale, CA 91203

Forcepoint LLC
c/o registered agent Corporate Creations Network Inc.
Jennifer Lee
7801 Folsom Boulevard, #202,
Sacramento, Ca 95826
